Case 1:19-bk-12004-MB Doc17 Filed 08/22/19 Entered 08/22/19 12:11:07 Desc

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Sean J Chandler

Debtor 1 __

First Name Middle Name Las! Name
Debtor 2 _
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Central District of California

Case number 1:19-bk-12004-MT
(If known)

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

[| check if this is an
amended filing

12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. \f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

aa List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

[1 No. Go to Part 2.
Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Internal Revenue Service

2.1
Priority Creditors Name ~
P. O. Box 7346
Number ‘Street
Philadelphia PA 19101-7346
City State ZIP Code

Who incurred the debt? Check one.
[4] Debtor 4 only

C1 debtor 2 only
(J Debtor 4 and Debtor 2 only
oO At least one of the debtors and another

[check if this claim is for a community debt

Is the claim subject to offset?
INo
J Yes

[|

Priority Creditors Name

Number Street

City State ZIP Code

o incurred the debt? Check one.
Debtor 1 only

Oo Debtor 2 only

oO Debtor 1 and Debtor 2 only

oO At least one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?
|_| No
Yes

Total claim Priority Nonpriority
amount amount

51,700.00 0.00 41,700.00

Lasl 4 diyits uf accuunl number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C Contingent

CC Unliquidated

O Disputed

Type of PRIORITY unsecured claim:

1 Domestic support obligations

Wy Taxes and certain other debts you owe the government

CO) claims for death or personal injury while you were
intoxicated

C1 other. Specify

Last 4 digits of account number ij $ 5

When was the debt incurred?

As of the date you file, the clalm is: Check all that apply.
oO Contingent

CD unliquidated

O Disputed

Type of PRIORITY unsecured claim:
1 Domestic support obligations
( Taxes and certain other debts you owe the government

CJ claims for death or personal injury while you were
intoxicated

[J other. Specify

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 7 _
Debtor 1

First Name Middle Name

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Page 26f'7e

iy List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

[_] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already

included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

Amazon Prime Credit Card

=
a

Nonpriority Creditors Name

P. O. Box 81226
Street

Number

Seattle
City

98108
ZIP Cade

WA
State

Who incurred the debt? Check one.
[7] Debtor 1 only

C1 Debtor 2 only
(7 Debtor 4 and Debtor 2 only
(1 At least one of the debtors and another

(Check if this claim is for a community debt

Is the claim subject to offset?
i¥1No

Nonpriority Creditors Name
100 N Tryon St

Street

Number

NC

State

28255
ZIP Code

Charlotte

City
o incurred the debt? Check one.
Debter 1 only

C) bebtor 2 only
[7 Debtor 14 and Debtor 2 only
(7) At least one of the debtors and another

[J Check if this claim is for a community debt

is the claim subject to offset?
[¥] No

+ YES ;
Bank of America

Nonpriority Creditor’s Name

100 N Tryon St
Street

Number

NC

State

28255
ZIP Code

Charlotte

City
Who incurred the debt? Check one.

[7] Debtor 1 only

(J) Debtor 2 only

(J Debtor 1 and Debtor 2 only

[71 At least one of the debtors and another

(J) Check if this claim is for a community debt
Is the claim subject to offset?

lv] No

i] Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent
C1 unliquidated
Oo Disputed

Type of NONPRIORITY unsecured claim:

O Student loans

C Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

WZ) other. Specify

Last 4 digits of account number 7639
When was the debt incurred? 7/8/15

As of the date you file, the claim is: Check all that apply.

O Contingent

CO unliquidated

O Disputed

Type of NONPRIORITY unsecured claim:
J student loans

CO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

(YZ) other. Specify Credit Card Debt

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent

[1 unliquidated

O Disputed

Type of NONPRIORITY unsecured claim:
J) student loans

Oo Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

7) other. Specify

¢ 1,073.67

¢ 4,881.00

$19,221.00

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uate Main-Document Page Ggsp purer (7 known) -

Debtor 1

Ftrst Name Middle Name

i List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

[J No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.!f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

Chase Bank

Nonpriority Creditor's Name

P O Box 36520

Number Street

Louisville KY 40233

City State ZIP Code

Who incurred the debt? Check one.

1) Debtor 1 only

(J Debtor 2 only

J) Debtor 1 and Debtor 2 only

(1 At least one of the debtors and another

C1 Check if this claim is for a community debt

Is the claim subject to offset?
“ No

Yes
Chase Bank

Nonpriority Creditor's Name

P O Box 36520

Number Street

Louisville KY 40233

City State ZIP Code

Who incurred the debt? Check one.
YW Debtor 1 only

C Debtor 2 only

(1 Debtor 4 and Debtor 2 only
(Atleast one of the debtors and another

CJ Check if this claim is for a community debt
Is the claim subject to offset?

iv No

[| Yes

aoc
VIL Balik

Nonpriority Creditor's Name

P.O. BOX 9001037

Number Street

Louisville KY 40290

Cit State ZIP Code

Who incurred the debt? Check one.
[7] Debtor 4 only

C debtor 2 only

J) Debtor 1 and Debtor 2 only

(J) At least one of the debtors and another

(3) Check if this claim is for a community debt

Is the claim subject to offset?
Lv} No
| | Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent

(1) unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
CL student loans

O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts
[7] other. Specify

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Oo Contingent

CO unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
C1 Student loans

Oo Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
LC Debts to pension or profit-sharing plans, and other similar debts

[7] Other. Specify

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent

(J untiquidated

O Disputed

Type of NONPRIORITY unsecured claim:

(F) Student loans

[1 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts
[7] Other. Specify

5 806.84

92,712.46

$2,891.00

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Debtor 1

First Name Middle Name

ir List All of Your NONPRIORITY Unsecured Claims

KA wy nen.
laatheme Wath-Document

Pag e Bsegpeer (if hanes)

3. Do any creditors have nonpriority unsecured claims against you?

[7] No. You have nothing to report in this part. Submit this form to the court with your other schedules,

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particutar claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

Citi Bank

Nonpriority Creditor's Name

P.O. BOX 9001037

Number Street

Louisville KY 40290

City State ZIP Code

Who incurred the debt? Check one.

[7] Debtor 1 only

C1 Debtor 2 only

(5 Debtor 4 and Debtor 2 only

[1 At least one of the debtors and another

C1 Check if this claim is for a community debt

Is the claim subject to offset?

[¥] No

[Yes
Mercedes Benz Financial Service

+
o

Nonpriority Creditor's Name

P. O. Box 5209

Number Street

Carol Stream IL 60197

City State ZIP Code

Who incurred the debt? Check one.
[17] Debtor 1 only

CO Debtor 2 only

(J Debtor 4 and Debtor 2 only

oO At least one of the debtors and another

CO Check if this claim is for a community debt

Is the claim subject to offset?
[¥1No
_| Yes

U. S. Banik National Association

Nonpriority Creditor's Name

P. O. Box 790408

Number Street

Saint Louis MO | 63179

Cit State ZIP Code

Who incurred the debt? Check one.
WZ] Debtor 1 only

C1 Debtor 2 only

(7) Debtor 1 and Debtor 2 only

7 At least one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?

[¥] No

|_| Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number

33,746.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

oO Contingent

( unliquidated

O Disputed

Type of NONPRIORITY unsecured claim:
CD student loans

O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts
LZ] other. Specify

51,400.00

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent

CI Unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans

oO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts
[YZ] other. Specify

Last 4 digits of account number

34,000.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

oO Contingent

( unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:

(1 Student loans

oO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
C1 Debts to pension or profit-sharing plans, and other similar debts

[IY] Other. Specify

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Debtor 1 =a=-Main-Decument Page S6f 7° “vr -

First Name Middle Name

aes All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

[7] No. You have nothing to report in this part. Submit this form to the court with your other schedules,
Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

Total claim
U. S. Bank National Association Last 4 digits of ‘ b
as igits of account number
Nonpriority Creditor's Name 9 4,934.1 1
P. O. Box 790408 When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Saint Louis MO 63179
City Stale ZIP Code 5 Contingent
Unliquidated
Who incurred the debt? Check one. Oo Disputed
7 semen oy Type of NONPRIORITY unsecured claim:
ebtor 2 only
Student loans
(J Debtor 4 and Debtor 2 only O oo . .
oO O Obligations arising out of a separation agreement or divorce
At least one of the debtors and another that you did not report as priority claims
LC Check if this claim is for a community debt C1 Debts to pension or profit-sharing plans, and other similar debts
7] other. Specify
ls the claim subject to offset?
[7] No
[|] Yes
[| Last 4 digits of account number $
Nonpriofily Creditors Name When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Ol Contingent
Cily Stalo ZIP Cuda TC unliquidated
Who incurred the debt? Check one. (3 pisputed
5 eetnn ; Type of NONPRIORITY unsecured claim:
ebtor 2 only
(1 Debtor 4 and Debtor 2 only a os loans - tof ti ae
igations arising out of a separation agreement or divorce
[J At least one of the debtors and another that you did not report as priority claims
(C] Check if this claim is for a community debt 1 Debts to pension or profit-sharing plans, and other similar debts
. . C1 other. Specify
Is the claim subject to offset?
“Ne
{I Yes i
| | Last 4 digits of account number §

Nonpriority Creditor's Name When was the debt incurred?

Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent

City State ZIP Code oo

Who incurred the debt? Check one. C1 uniiquidated

(71 Debtor 1 only O Disputed

C Debtor 2 only Type of NONPRIORITY unsecured claim:

C1 Debtor 1 and Debtor 2 only C Student loans

11 At least one of the debtors and another O Obligations arising out of a separation agreement or divorce

oo . . that you did not report as priority claims

C1 Check if this claim is for a community debt C1 Debts to pension or profit-sharing plans, and other similar debts

Is the claim subject to offset? (1 other. Specify

[_! No

|] Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 5 of 7_
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Debtor 1 Middle Name ~ Last Name Main Decument Page SOR PP row

First Name

an List Others to Be Notified About a Debt That You Already Listed

5, Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Nelson & Kennard On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5011 Dudley Blvd., Bldg 250, Bay G Line 4.2 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Number Street Part 2: Creditors with Nonpriority Unsecured Claims
Mcclellan AFB CA 95652 Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 1 Part 1: Creditors with Priority Unsecured Claims
Number Street [J Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
Cily State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): ([] Part 1: Creditors with Priority Unsecured Claims
umber; a (2) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 1) Part 1: Creditors with Priority Unsecured Claims
Number Street (-] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 1) Part 1: Creditors with Priority Unsecured Claims
Number eted (1 Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City Statc iP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): [7] Part 1: Creditors with Priority Unsecured Claims
eS —— CJ Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City Stale ZIP Cade
5 On which entry in Part 1 or Part 2 did you list the original creditor?
Jame
Line of (Check one): [1] Part 1: Creditors with Priority Unsecured Claims
Number Street . . oo
(J Part 2: Creditors with Nonpriority Unsecured
Claims
Sale FIP Code Last 4 digits of account number

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 6 of 7 _
Debtor 1

First Name Middle Name Last Name

a Add the Amounts for Each Type of Unsecured Claim

ain Docume
T¥TCAT BFA UOTTT.

nt

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A Page [agg flppmber (i Annowny

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6a.

6d.

6e.

6h.

Gi.

Domestic support obligations

. Taxes and certain other debts you owe the

government

. Claims for death or personal injury while you were

intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

Gf.

6h.

Gi.

6j.

Total claim
$ 0.00
$ 1,700.00
; 0.00
+5 0.00
7 1,700.00
Total claim
‘ 0.00
$ 0.00
‘ 0.00
+5 45,266.08
$ 45,266.08

Schedule E/F: Creditors Who Have Unsecured Claims

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